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 7                           UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
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10   UNITED STATES OF AMERICA,

11          Plaintiff,                                 Case No. 2:07-145-KJD-PAL

12   v.                                                ORDER

13   MICHAEL WAYNE YOST,

14          Defendant.

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16          Currently before the Court is Defendant Michael Wayne Yost’s (Yost) Motion to Suppress

17   Evidence for Fourth Amendment Violation (#422), filed November 18, 2008. The Government filed

18   a Response (#462), on December 12, 2008, to which Yost filed a Reply (#482), on December 19,

19   2008. The Magistrate Judge filed a Report and Recommendation (#597), on March 26, 2009, to

20   which Yost filed an Objection (#653), on April 9, 2009.

21          The Court has reviewed the Magistrate Judge’s Report and Recommendation, together with

22   the Motion, Response, and Reply, as well as the Defendant’s Objection and accepts the Magistrate

23   Judge’s Recommendation to Deny Defendant Jones’ Motion to Suppress Evidence.

24          This Court has made a de novo determination regarding the Defendant’s Motion to Suppress

25   Evidence, and adopts the Magistrate Judge’s findings in part. The Magistrate Judge properly

26   determined that an evidentiary hearing was not required, as Yost’s Motion failed to allege that there
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 1   are any significant disputed factual issues. (Report and Recommendation at 4.) The Magistrate Judge

 2   also properly found, upon reviewing the affidavit as a whole, and applying the totality of

 3   circumstances test, that the issuing judge had a substantial basis for concluding that probable cause

 4   existed for the issuance of the search warrant for the residence at 5920 Vicki Ann Road in Pahrump,

 5   Nevada, on June 28, 2006.

 6          The Magistrate Judge also properly found that the “plain view” doctrine must justify the

 7   seizure of any object not specifically listed in a search warrant. (Report and Recommendation at 13)

 8   (See also Minnesota v. Dickerson, 508 U.S. 366, 375 (1993); United States v. Garcia, 205 F.3d 1182,

 9   1187 (9th Cir. 2000) cert. Denied, 531 U.S. 856 (2000). Appropriately, the Magistrate Judge

10   recommended that “before the government seeks to introduce evidence at trial not specifically

11   identified in the search warrant, the government should be required to establish that the evidence was

12   found where officers were lawfully authorized to be during the execution of the search warrant and

13   that the incriminating nature of the evidence was immediately apparent to seizing officers.” (Report

14   and Recommendation at 13.) The Magistrate Judge also properly found that the information

15   supporting the search warrant was not too stale to support a finding of probable cause, and that even

16   if the search warrant was “flawed”, evidence seized pursuant to the search warrant here is admissible,

17   under the circumstances set forth in United States v. Leon, 468 U.S. 897, 920 (1984). (Report and

18   Recommendation at 14–15.)

19          Additionally, the Magistrate Judge properly found that the Court could not determine from

20   the parties’ pleadings what items of evidence the Government intends to introduce at trial and

21   whether the plain view doctrine applies. Accordingly the Magistrate Judge recommended that “the

22   government be required to disclose to defense counsel thirty days prior to trial what specific items of

23   evidence seized in the search of Yost’s residence the government intends to introduce at trial, and for

24   those items not specifically authorized by the search warrant, what exception to the search warrant

25   requirement permits the introduction of the evidence not specifically authorized to be seized.”

26   (Report and Recommendation at 16.)

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 1          Accordingly, IT IS HEREBY ORDERED that the Magistrate Judge’s Report and

 2   Recommendation is accepted and adopted in part.

 3          IT IS FURTHER ORDERED that Defendants’ Motion to Suppress Evidence (#442), is

 4   DENIED.

 5          IT IS FURTHER ORDERED that the Government is required to disclose to counsel for

 6   Yost, on or before Calendar call, currently set for May 12, 2009, at 9:00 a.m., which of the items

 7   seized during the search of his residence at 5920 Vicki Ann Road in Pahrump, Nevada, the

 8   Government intends to introduce at trial to enable counsel for Yost to object to the introduction of

 9   evidence on Fourth Amendment grounds.

10          IT IS FURTHER ORDERED that before the Government is permitted to introduce any

11   evidence seized from Yost’s residence not specifically authorized in the description of items to be

12   seized in the search warrant, that the Government establish that the plain view exception to the

13   warrant requirement justified the seizure of these items of evidence.

14          DATED this 7th day of May 2009.

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                                                  Kent J. Dawson
18                                                United States District Judge

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